                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA



UNITED STATES OF AMERICA                              )
                                                      )       No. 1:06-cr-30
vs.                                                   )
                                                      )       JUDGE EDGAR
J. CARMEN IBARRA-OROZCO                               )       MAGISTRATE JUDGE LEE



                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on February 1, 2007.

At the hearing, defendant moved to withdraw his not guilty plea to Counts One and Three and

entered a plea of guilty to Counts One and Three of the Indictment in exchange for the undertakings

made by the government in the written plea agreement. On the basis of the record made at the

hearing, I find the defendant is fully capable and competent to enter an informed plea; the plea is

made knowingly and with full understanding of each of the rights waived by defendant; the plea is

made voluntarily and free from any force, threats, or promises, apart from the promises in the plea

agreement; the defendant understands the nature of the charge and penalties provided by law; and

the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Counts

One and Three be granted, his plea of guilty to Counts One and Three of the Indictment be accepted,

the Court adjudicate defendant guilty of the charges set forth in Counts One and Three of the

Indictment, and that a decision on whether to accept the plea agreement be deferred until sentencing.




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I further RECOMMEND defendant remain in custody until sentencing in this matter. Acceptance

of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.


                                                s/Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than ten days after the plea hearing. Failure to file
objections within ten days constitutes a waiver of any further right to challenge the plea of guilty
in this matter. See 28 U.S.C. §636(b).




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